                           Case: 1:23-cv-00130 Document #: 5 Filed: 01/10/23 Page 1 of 1 PageID #:14
ILND 44 (Rev. 04/13/16)                                                CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
   Michael Matthews                                                                                      Thomas J Dart, Cook County Sheriff's Office, Cook County, B.I. Incorporated,
                                                                                                         Track Group, Inc., Allpoints Security and Detective, Inc.


   (b) County of Residence of First Listed Plaintiff          Cook County, IL                            County of Residence of First Listed Defendant                  Cook County
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:                      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
    Daniel M. Kotin                                                                                      Devore Radunsky LLC, 230 W. Monroe Street, Suite 230, Chicago, IL 60606,
    Tomasik Kotin Kasserman                                                                              (312) 300 - 4479
    161 N Clark St., Ste 3050, Chicago, IL 60601

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                            and One Box for Defendant)
   1    U.S. Government               3 Federal Question                                                                      PTF          DEF                                            PTF       DEF
          Plaintiff                       (U.S. Government Not a Party)                        Citizen of This State             1               1    Incorporated or Principal Place          4      4
                                                                                                                                                        of Business In This State

   2    U.S. Government               4 Diversity                                              Citizen of Another State              2           2    Incorporated and Principal Place         5      5
          Defendant                      (Indicate Citizenship of Parties in Item III)                                                                   of Business In Another State

                                                                                               Citizen or Subject of a               3           3    Foreign Nation                           6      6
                                                                                                 Foreign Country
IV. NATURE OF SUIT                   (Place an “X” in One Box Only)
            CONTRACT                                         TORTS                                FORFEITURE/PENALTY                          BANKRUPTCY                       OTHER STATUTES
   110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY             625 Drug Related Seizure                422 Appeal 28 USC 158              375 False Claims Act
   120 Marine                          310 Airplane                   365 Personal Injury -           of Property 21 USC 881              423 Withdrawal                     376 Qui Tam (31 USC
   130 Miller Act                      315 Airplane Product               Product Liability       690 Other                                   28 USC 157                         3729 (a))
   140 Negotiable Instrument                Liability                 367 Health Care/                                                                                       400 State Reapportionment
   150 Recovery of Overpayment         320 Assault, Libel &               Pharmaceutical                                                  PROPERTY RIGHTS                    410 Antitrust
       & Enforcement of Judgment            Slander                       Personal Injury                                                 820 Copyrights                     430 Banks and Banking
   151 Medicare Act                    330 Federal Employers’             Product Liability                                               830 Patent                         450 Commerce
   152 Recovery of Defaulted                Liability                 368 Asbestos Personal                                               840 Trademark                      460 Deportation
       Student Loans                   340 Marine                         Injury Product                                                                                     470 Racketeer Influenced and
       (Excludes Veterans)             345 Marine Product                 Liability                         LABOR                         SOCIAL SECURITY                        Corrupt Organizations
   153 Recovery of                          Liability                PERSONAL PROPERTY            710 Fair Labor Standards                861 HIA (1395ff)                   480 Consumer Credit
       Veteran’s Benefits              350 Motor Vehicle              370 Other Fraud                  Act                                862 Black Lung (923)               490 Cable/Sat TV
   160 Stockholders’ Suits             355 Motor Vehicle              371 Truth in Lending        720 Labor/Management                    863 DIWC/DIWW (405(g))             850 Securities/Commodities/
   190 Other Contract                      Product Liability          380 Other Personal               Relations                          864 SSID Title XVI                     Exchange
   195 Contract Product Liability      360 Other Personal                 Property Damage         740 Railway Labor Act                   865 RSI (405(g))                   890 Other Statutory Actions
   196 Franchise                           Injury                     385 Property Damage         751 Family and Medical                                                     891 Agricultural Acts
                                       362 Personal Injury -              Product Liability            Leave Act                                                             893 Environmental Matters
                                           Medical Malpractice                                    790 Other Labor Litigation                                                 895 Freedom of Information
       REAL PROPERTY                     CIVIL RIGHTS               PRISONER PETITIONS            791 Employee Retirement                 FEDERAL TAX SUITS                      Act
   210 Land Condemnation               440 Other Civil Rights         510 Motions to Vacate           Income Security Act                 870 Taxes (U.S. Plaintiff          896 Arbitration
   220 Foreclosure                     441 Voting                         Sentence                                                             or Defendant)                 899 Administrative Procedure
   230 Rent Lease & Ejectment          442 Employment                 Habeas Corpus:                                                      871 IRS—Third Party                    Act/Review or Appeal of
   240 Torts to Land                   443 Housing/                   530 General                                                              26 USC 7609                       Agency Decision
   245 Tort Product Liability              Accommodations             535 Death Penalty                                                                                      950 Constitutionality of
   290 All Other Real Property         445 Amer. w/Disabilities       540 Mandamus & Other             IMMIGRATION                                                               State Statutes
                                           Employment                 550 Civil Rights            462 Naturalization Application
                                       446 Amer. w/Disabilities       555 Prison Condition        463 Habeas Corpus -
                                           Other                      560 Civil Detainee -            Alien Detainee
                                       448 Education                      Conditions of               (Prisoner Petition)
                                                                          Confinement             465 Other Immigration
                                                                                                      Actions

V. ORIGIN (Place an “X” in One Box Only)
                                                                                                                              Transferred from
       1 Original          2 Removed from               3 Remanded from                    4   Reinstated or              5                                6 Multidistrict
                                                                                                                              Another District
         Proceeding          State Court                  Appellate Court                      Reopened                       (specify)                      Litigation
VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are                           VII. Previous Bankruptcy Matters (For nature of suit 422 and 423, enter the case
filing and write a brief statement of cause.)                                               number and judge for any associated bankruptcy matter previously adjudicated by a judge of
28 U.S.C. §§ 1331, 1367, 1983. Civil Rights: Elecronic Monitoring                           this Court. Use a separate attachment if necessary.)

VIII. REQUESTED IN                                  CHECK IF THIS IS A CLASS ACTION                     DEMAND $                                 CHECK YES only if demanded in complaint:
     COMPLAINT:                                     UNDER RULE 23, F.R.Cv.P.
                                                                                                        Exceeding 50,000                      JURY DEMAND:                               Yes        No
IX. RELATED CASE(S)                          (See instructions):

     IF ANY                                                            JUDGE                                                    DOCKET NUMBER

X. This case (check one box)          Is not a refiling of a previously dismissed action              is a refiling of case number                   previously dismissed by Judge
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
          1/10/2023                                                         /s/Jason E. DeVore
